Case 2:98-Cr-20061-BBD Document 100 Filed 06/10/05 Page 1 of 2 Page|D 50

 

 

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uNlTED sTATEs oF AMERch, * WD- OF ?'w.' :Q§TS,§
Plaintiff, *
v. * Crimina| No. MD_E
RoNALD cARRuTHERs, *
Defendants. *
oRDER

 

Upon motion of the United States and for good cause Shown, it is hereby

ORDERED that the Petition on Supervised Re|ease Vio|ation is D|SN||SSED.

k
rT ls 30 ORDERED this /0 day of(r J¢¢¢£ 2005.

RN|CE B. DONALD
UN|TED STATES D|STR|CT JUDGE

ubmitted b :

Stuart J. Cana|e
Assistant United States Attorney

This document entered on the docket s_,heet in £?m" "

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Honorable Bernice Donald
US DISTRICT COURT

